United States District Court
Northern District of California

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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA

RAHUL MEWAWALLA, Case No. 21-cv-09700-EMC

Plaintiff,

y REVISED FINAL VERDICT FORM

STANLEY C. MIDDLEMAN, et al.,

Defendants.

Dated: February 10, 2025

EDW . CHEN
United States District Judge

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We, the jury, agree to the answers to the following questions and return them under the

instructions of this Court as our verdict in this case:

I; VERDICT FORM 1 PLAINTIFF’S CLAIMS

Plaintiff’s False Promise Claim (Count 1) and Fraudulent Concealment Claim (Count 2)

L, For whom do you find on Count 1?

Plaintiff Defendants
2. For whom do you find on Count 2?

Plaintiff Defendants

If you found for Plaintiff on either question | or question 2, answer questions 3-6.

3. What are Rahul Mewawalla’s damages?
g 3, $9,900

4, Do you find punitive damages are warranted?

Yes "No

5. If you answered yes to question 4, against whom?
Defendant Stanley Middleman

Defendant Freedom Mortgage Corporation

6. What amount of punitive damages, if any, do you award Rahul Mewawalla?
$ against Defendant Stanley Middleman
$ against Defendant Freedom Mortgage Corporation

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Plaintiff’s Breach of Contract Claim (Against Freedom Mortgage Corporation) (Count 5)

1. For whom do you find on Count 5 against Freedom?

7 visintife Defendant Freedom

If you found for Plaintiff on question 1, answer question 2.

2, What are Rahul Mewawalla’s damages?

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Plaintiff's Breach of Contract Claims (Against Xpanse, LLC) (Count 5 and Count 6)

L, For whom do you find on Count 5 against Xpanse?

Plaintiff Defendant Xpanse
Z., For whom do you find on Count 6 against Xpanse?

Plaintiff Defendant Xpanse

If you found for Plaintiff on either question 1 or question 2, answer question 3.

3. What are Rahul Mewawalla’s damages?
$
4, If you find for Plaintiff on Count 5 against Freedom, and for Plaintiff on Counts 5

or 6 against Xpanse, what portion (if any) of the damages awarded against Xpanse

are overlapping with the award against Freedom?

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Thank you for your service on this jury. Please sign and return the verdict form to the Clerk.

Signed: #G. ah

Presiding Juror

Dated: 2/ ] L

